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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF VIRGINIA

                        Alexandria Division


UNITED STATES OF AMERICA,         )
                                  )
          v.                      )
                                  )   1:12cr280 (JCC)
HAN SA YU, et al.,                )
                                  )
     Defendants.                  )


                M E M O R A N D U M       O P I N I O N

          This matter is before the Court on Defendants Han Sa

Yu and Je Hyung Yoo’s (collectively, “Defendants”) Motions to

Sever (the “Motions to Sever”) [Dkts. 30, 32] and Defendant Je

Hyung Yoo’s Motion for Discovery and Production of Exculpatory

Evidence (the “Motion for Discovery”) [Dkt. 23].         For the

following reasons, the Court will deny Defendants’ Motions to

Sever and deny Je Hyung Yoo’s Motion for Discovery as moot.

                           I. Background

          On June 27, 2012, a grand jury sitting in the Eastern

District of Virginia returned a multiple-count indictment

against Defendants Han Sa Yu and Je Hyung Yoo.         [Dkt. 11.]    The

indictment charged Defendants with: one count of conspiracy to

commit extortion (Count One); four counts of extortion (Counts

Two, Three, Five, and Six); and one count of attempted extortion

(Count Four), all in violation of 18 U.S.C. § 1951, commonly
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referred to as the “Hobbs Act.”      In short, the indictment

alleges that Defendants were members of a gang known as the

“Korean Night Breeders,” and that the gang extorted money from

businesses in and around Annandale, Virginia.

           A joint trial is scheduled for September 17, 2012.

[See Dkt. 24.]   The Government anticipates that special agents

from the Department of Homeland Security (“DHS”) and police

officers from the Fairfax County Police Department will testify

regarding inculpatory statements made by each Defendant.

(Gov’t’s Opp’n to Def. Yoo’s Mot. to Sever [Dkt. 33] 2.)          The

Government also represents that it will seek to play portions of

an audio recording of inculpatory statements made by Han Sa Yu

to Fairfax County police officers.       (Id.)

           On July 5, 2012, Defendant Je Hyung Yoo filed a Motion

for Discovery and Production of Exculpatory Evidence.          [Dkt.

23.]   The following day, Defendants were arraigned.         At

Defendants’ arraignment, the Court entered an agreed Discovery

Order and set a deadline of August 5, 2012, for the filing of

pretrial motions.    Then, on August 14, 2012, Je Hyung Yoo filed

a Motion for Leave to File a Motion to Sever [Dkt. 29] as well

as a Motion to Sever [Dkt. 30].      Defendant Han Sa Yu filed the

same on August 17, 2012.     [Dkts. 31-32.]      The Government filed

an opposition to Je Hyung Yoo’s Motion to Sever and Motion for

Discovery on August 20, 2012, [Dkts. 33-34], and an opposition
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to Han Sa Yu’s Motion to Sever on August 21, 2012, [Dkt. 35].

On August 22, 2012, Je Hyung Yoo filed a reply in further

support of his Motion to Sever.      [Dkt. 36.]

            Defendants’ motions are before the Court.

                              II. Analysis

            A.   Motions to Sever

                 1.   Timeliness

            As an initial matter, Defendants’ Motions to Sever are

untimely.    This Court set a deadline of August 5, 2012, for the

filing of pretrial motions.     However, Je Hyung Yoo did not file

his Motion to Sever until August 14, 2012, and Han Sa Yu did not

file his Motion to Sever until August 17, 2012.

            Federal Rule of Criminal Procedure Rule 12(c) allows

the Court to set a deadline for the filing of pretrial motions.

Motions to sever that are not made prior to the Rule 12(c)

pretrial motion deadline are untimely and are subject to waiver

absent a sufficient showing of cause for the late filing.

United States v. Ragin, 737 F. Supp. 889, 893 (W.D.N.C. 1990).

(collecting cases).

            In their motions for leave to file, Defendants do not

make any showing of cause for their late filings, and merely

assert that the Government will not be prejudiced, and that the

interests of justice will be served, by consideration of the
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motions.    Je Hyung Yoo’s motion for leave indicates that the

Government does not consent to his late filing.

            That said, the Government did not file oppositions to

Defendants’ motions for leave to file, and has instead

challenged Defendants’ Motions to Sever solely on the merits.

Moreover, it appears that motions to sever denied on timeliness

grounds are often filed on the eve of trial.        See, e.g., United

States v. Casamayor, 837 F.2d 1509, 1512 (11th Cir. 1988)

(motion to sever filed on “eve of trial” was untimely); United

States v. Hoelker, 765 F.2d 1422, 1425 (9th Cir. 1985) (finding

that motion to sever that was not made until day before

scheduled trial date and two months after date for filing

pretrial motion was untimely).      Here, by contrast, Defendants’

motions, though untimely, were filed a month before trial is set

to begin.    For these reasons, and because the motions raise

issues of constitutional magnitude, it is appropriate to decide

Defendants’ Motions to Sever on the merits.        Defendants are

reminded, however, that this Court takes filing deadlines

seriously, and that they should not expect such leniency in all

cases.

                 2.   Merits

                      a.    Relevant Law

            Federal Rule of Criminal Procedure 8(b) provides that

“[t]wo or more defendants may be charged in the same indictment
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or information if they are alleged to have participated in the

same act or transaction or in the same series of acts or

transactions constituting an offense or offenses.”         Fed. R.

Crim. P. 8(b).   Once defendants are indicted together, there is

a preference that they be tried together.        See Zafiro v. United

States, 506 U.S. 534, 537 (“[T]here is a preference in the

federal system for joint trial of defendants who are indicted

together”); United States v. Rusher, 966 F.2d 868, 877 (4th Cir.

1992) (“[D]efendants indicted together should be tried

together”).   Joint trials of defendants charged with illegal

activities arising out of the same events promote efficiency and

judicial economy.    Zafiro, 506 U.S. at 537 (citation omitted).

           A court may sever a joint trial, however, under

Federal Rule of Criminal Procedure 14.       This rule provides that

“[i]f the joinder of offenses or defendants in an indictment . .

. appears to prejudice a defendant or the government, the court

may . . . sever the defendants’ trials . . . .”         Fed. R. Crim.

P. 14.   A court’s discretion to sever should be exercised “only

if there is a serious risk that a joint trial would compromise a

specific trial right of one of the defendants, or prevent the

jury from making a reliable judgment about guilt or innocence.”

Zafiro, 506 U.S. at 539.     A defendant is not entitled to

severance merely because he might have had a better chance of
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acquittal in a separate trial.      United States v. Lighty, 616

F.3d 321, 348 (4th Cir. 2010).

           Defendants argue that severance is appropriate because

of potential issues with non-testifying co-defendant

confessions.   In Bruton v. United States, 391 U.S. 123, 135-36

(1968), the Supreme Court held that held that admission of a

non-testifying co-defendant's incriminating statement violates a

defendant’s Sixth Amendment confrontation rights.         Id. at 135-

36.   While Defendants advance the same argument, the Government

responds to each Defendant differently.       Accordingly, the Court

will address Defendant’s motions separately.

                      b.    Han Sa Yu

           Han Sa Yu does not identify the statements which he

contends are problematic under Bruton.       In its response, the

Government concedes that some of the statements that Je Hyung

Yoo made to federal agents facially incriminate Han Sa Yu, and

thus would violate his rights under the Confrontation Clause if

admitted into evidence at trial.      (Gov’t Resp. to Def. Han Sa

Yu’s Mot. to Sever [Dkt. 34] 2.)      The Government represents,

however, that it will not seek to admit such statements in

unredacted form.   The Supreme Court has held that the

Confrontation Clause is not violated by the admission of a non-

testifying co-defendant’s confession, with a proper limiting

instruction, when the confession is redacted to eliminate not
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only the defendant’s name, but any reference to his or her

existence.    See Richardson v. Marsh, 481 U.S. 200, 211 (1987).

Similarly, when the redacted statement refers to the existence

of a co-defendant through use of symbols or neutral pronouns,

the redacted version is generally admissible.         United States v.

Akinkoye, 185 F.3d 192, 198 (4th Cir. 1999); United States v.

Brooks, 957 F.2d 1138, 1146 (4th Cir. 1992) (citation omitted).

However, if a redacted confession of a non-testifying

codefendant given to the jury (by testimony or in writing) shows

signs of alteration such that it is clear that a particular

defendant is implicated, the Sixth Amendment has been violated.

See Gray v. Maryland, 523 U.S. 185 (1998).

          Han Sa Yu asserts that it is impossible to redact Je

Hyung Yoo’s inculpatory statements such that they would not

implicate him.    Specifically, he anticipates that the evidence

at trial will establish that he was the leader of the Korean

Night Breeders, and that he was present at all of the alleged

extortions.    He also contends that Je Hyung Yoo’s statements

describe incidents similar to those described by Government

witnesses to DHS agents.     He argues that for these reasons,

redaction will not protect his identity from the jurors.

          The Court disagrees.      For one, Han Sa Yu fails to

provide specific examples of inculpatory statements that could

not be redacted so as to avoid Bruton problems.         See United
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States v. Lord, No. 1:09cr159, 2009 WL 1766605, at *2 (E.D. Va.

June 19, 2009) (“[T]he Court cannot find that prejudice exists

and that severance should be granted based on [the defendant’s]

strictly hypothetical arguments which fail both to articulate

any specific instances of prejudice, and to give the Court

sufficient information to determine the appropriate remedy.)

(internal quotation marks and citations omitted).

          The arguments Han Sa Yu does advance are unavailing.

Contrary to Han Sa Yu’s position, the relationship between a

non-testifying co-defendant’s confession and other evidence

presented at trial does not violate the Confrontation Clause, so

long as each redacted confession, viewed in isolation, does not

incriminate the other Defendant.      See United States v. Williams,

936 F.2d 698, 700 (2d Cir. 1991) (“If the confession . . . does

not incriminate the defendant, then it may be admitted with a

proper limiting instruction even though other evidence in the

case indicates that the neutral pronoun is in fact a reference

to the defendant.”); see also United States v. Smith, 43 F.

App’x 529, 533 (4th Cir. 2002) (unpublished) (noting that “the

Confrontation Clause is not violated by the admission of a non-

testifying co-defendant’s confession that has been redacted to

eliminate the defendant’s name and any reference to his

existence where a limiting instruction is given, even though the

statement is incriminating to the defendant when it is linked
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with other evidence introduced at trial”) (citing Richardson,

481 U.S. at 211).    Given Han Sa Yu’s minimal proffer, the Court

concludes that redaction plus a proper limiting instruction will

adequately remedy the Bruton problems posed by Je Hyung Yoo’s

inculpatory statements.

                      c.    Je Hyung Yoo

            In response to Je Hyung Yoo’s Motion to Sever, the

Government argues that Han Sa Yu did not make any statements

which implicate Bruton.     (Gov’t Resp. to Def. Je Hyung Yoo’s

Mot. to Sever [Dkt. 33] 11.)      Je Hyung Yoo has filed a reply, in

which he lists statements that he contends demonstrate the

converse.    Based on its review of Je Hyung Yoo’s reply, the

Court concludes that Han Sa Yu did make at least one statement

which directly inculpates Je Hyung Yoo, and is thus problematic

under Bruton.    That is Han Sa Yu’s statement to federal agents

that Je Hyung Yoo committed a robbery in Great Falls on March 3,

2012.   At oral argument, however, the Government submitted that

it does not plan to admit this statement.

            Assuming, without deciding, that other statements in

the reply brief are problematic under Bruton, Je Hyung Yoo does

not make any convincing arguments as to why redaction,

accompanied by a limiting instruction, would not be a sufficient

remedy.   He argues that because he and Han Sa Yu are the only

defendants in this case, admission of the Bruton statements, in
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redacted form, would not obviate the undue prejudice he would

suffer.   The Court disagrees.     It appears that the Korean Night

Breeders had a large number of members (scores, according to the

Government), such that redacted statements would not obviously

inculpate Je Hyung Yoo.     And, as noted above, even if the

redacted statements become incriminating when linked with other

evidence, there is no Bruton problem so long as the statements

are not facially incriminating and are accompanied by a proper

limiting instruction. Smith, 43 F. App’x at 533.          Accordingly,

the Court concludes that redaction and a proper limiting

instruction constitute an adequate remedy, and that severance is

not required.

           B.   Motion for Discovery

           In his Motion for Discovery, Je Hyung Yoo seeks an

Order commanding the Government to produce various discovery

materials.   The day after Defendant filed his motion, the Court

entered agreed Discovery Order that covers the breadth of

information sought by Defendant.       At oral argument, Defendants

indicated that they are satisfied with the Government’s

fulfillment of its discovery obligations.        Accordingly, Je Hyung

Yoo’s Motion for Discovery is denied as moot.
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                           III.    Conclusion

           For these reasons, the Court will deny Defendants’

Motions to Sever and deny Defendant Je Hyung Yoo’s Motion for

Discovery as moot.

           An appropriate Order will issue.




                                                /s/
August 29, 2012                           James C. Cacheris
Alexandria, Virginia              UNITED STATES DISTRICT COURT JUDGE
